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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:1 1-cv-01427-JSM-MAP

KENDRICK E. DULDULAO,

Plaintiff,
This motion/petition/stipulation has been duly
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THE LAUGHING CAT, INC. d/b/a THE this == _Uay SEprember_ —
LAUGHING CAT, SOUTHWEST FLORIDA <-fy, A.A bMeehey)
HOUSING GROUP, LLC and HJGE PROPERTY ~< Wyn * 1 IF Ze, !
GROUP. INC Ce S. MOODY] JR. /
— U.S. DISTRICT JUDGE
Defendants.

/

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT
HJGE PROPERTY GROUP, INC.

COME NOW, Plaintiff KENDRICK E, DULDULAO and Defendant HJGE PROPERTY
GROUP, INC., by and through their respective undersigned counsel, and pursuant to a confidential
settlement agreement and the provisions of Rule 41(a)(1) of the Federal Rules of Civil Procedure,
hereby stipulate to a dismissal of the above-captioned action, with prejudice, with regard solely to
Defendant HJGE PROPERTY GROUP, INC. Each party shall bear their own attorneys’ fees and
costs.

Dated: August 29, 2013

Respectfully submitted,

By:_s/B. Bradley Weitz By: _s/W. Jan Pietruszka
B. Bradley Weitz, Esq. W. Jan Pietruszka, Esq.
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Attorney for Plaintiff Attorney for Defendant HJGE PROPERTY

GROUP, INC.
